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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 ROWVAUGHN WELLS, Individually
 and as Administratrix Ad Litem of the
 Estate of Tyre Deandre Nichols, deceased.

        Plaintiff,

 v.                                                           Case No. 2:23-cv-02224-MSN-atc
                                                              JURY DEMAND
 THE CITY OF MEMPHIS, a municipality;
 CHIEF CERELYN DAVIS, in Her Official
 Capacity; EMMITT MARTIN III, in His
 Individual Capacity; DEMETRIUS HALEY,
 in His Individual Capacity; JUSTIN SMITH,
 in His Individual Capacity; DESMOND MILLS,
 JR., in His Individual Capacity; TADARRIUS
 BEAN, in His Individual Capacity; PRESTON
 HEMPHILL, in His Individual Capacity;
 ROBERT LONG, in His Individual Capacity;
 JAMICHAEL SANDRIDGE, in His Individual
 Capacity; MICHELLE WHITAKER, in Her
 Individual Capacity; and DEWAYNE SMITH,
 in His Individual Capacity and as an Agent of the
 City of Memphis,

       Defendants.
 ______________________________________________________________________________

    ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT CITY OF
       MEMPHIS’S MOTION FOR AN EXTENSION OF TIME TO RESPOND TO
      PLAINTIFF’S FIRST SET OF INTERROGATORIES AND REQUESTS FOR
                         PRODUCTION OF DOCUMENTS
 ______________________________________________________________________________

        Before the Court is Defendant City of Memphis’s (“Defendant”) Motion for an Extension

 of Time to Respond to Plaintiff’s First Set of Interrogatories and Requests for Production of

 Documents. (ECF No. 118, “Motion”). Defendant points to the broad language of Plaintiff’s

 requests to indicate that the relevant materials will likely be voluminous and further explains that
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 the Department of Justice’s (“DOJ”) simultaneous discovery requests have “necessarily diverted

 resources away from responding to Plaintiff’s discovery requests.” (Id. at PageID 975.) Defendant

 also notes that it must carefully review its documents for Garrity or Garrity-derived information.

 (Id.) Concerning the extension, Defendant states that it previously asked Plaintiff for a modest

 extension, which Plaintiff rejected, and now seeks sixty additional days in which to respond to

 Plaintiff’s discovery requests. (Id. at PageID 976.)

        Plaintiff objects on the grounds that Defendant waited until the last minute to request an

 extension despite knowing it might need one for weeks. (ECF No. 120 at PageID 981.) Plaintiff

 also argues that it is “especially critical” that Defendant begin turning over documents because (1)

 none have been turned over yet, (2) depositions have been scheduled in December for two of the

 other Defendants, and (3) discovery closes on April 30, 2023. (Id. at PageID 981–82.) As for the

 sixty-day request, Plaintiff states that Defendant only asked them for a twenty-one day extension

 and further explains that Plaintiff offered a four-day extension to provide written responses and a

 rolling production schedule until November 16, 2023. (Id. at PageID 981.) In support, Plaintiff

 attached the email chain relating to Defendant’s extension request. (See ECF No. 120-1.)

        The Court finds that good cause exists to extend the deadline for Defendant to respond to

 Plaintiff’s discovery requests. Specifically, Defendant’s arguments that it is also producing

 discovery to DOJ and that it must review its productions carefully given the nature of this case and

 other related cases are well-taken. The Court does not find, however, that a sixty-day extension is

 necessary or appropriate, particularly since Defendant waited so long to seek such relief and

 previously indicated to Plaintiff that a lesser extension would be sufficient. Plaintiff’s arguments

 that it needs discovery so it can prepare for the next steps in this litigation are also well-taken.




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        In light of these considerations, the Court GRANTS IN PART Defendant’s Motion.

 Having considered the initial framework Plaintiff offered Defendant, the Court finds it reasonable

 and adjusts it as follows:

    •   Written responses shall be due Friday, November 24, 2023;

    •   Available documents shall be produced on a rolling basis on or before Thursday,

        November 16; Friday, November 24, 2023; and Thursday, November 30, 2023 .

        IT IS SO ORDERED, this 6th day of November, 2023.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE




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